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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE MIDDLE DISTRICT OF FLORIDA
                                JACKSONVILLE DIVISION

  JACKSONVILLE BRANCH
  OF THE NAACP, et al.,
           Plaintiffs,
                                                     Case No. 3:22-cv-493-MMH-LLL
  v.
  CITY OF JACKSONVILLE, et al.,
           Defendants.
                                           /

                          VERIFIED DESCRIPTION OF CONDUCT
                            AND PERSONS TO BE ENJOINED

 I, Daniel J. Hessel, pursuant to 28 U.S.C. § 1746 and Local Rules 6.01(a)(2) and
 6.02(a)(1), state the following:

       1. I am an attorney representing Plaintiffs in this action. I make this verified
          description in support of Plaintiffs’ Motion for Preliminary Injunction.

       2. Plaintiffs request that (a) the City of Jacksonville; (b) Mike Hogan, in his official
          capacity as Duval County Supervisor of Elections; and (c) their officers, agents,
          employees, and attorneys who receive actual notice of the injunction by
          personal service or otherwise, be enjoined from conducting any elections using
          the Jacksonville City Council and Duval County School Board districts enacted
          in Ordinance 2022-01-E, until entry of a final judgment.

 I declare under penalty of perjury that the foregoing is true and correct.

 Executed on this 22nd day of July, 2022.


 By: /s/ Daniel J. Hessel
       Daniel J. Hessel



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